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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH


UTAH PHYSICIANS FOR A HEALTHY                           JUDGMENT IN A CIVIL CASE
ENVIRONMENT,
                                                        Case No. 2:17-cv-00032-RJS-DBP
       Plaintiff,

v.

DIESEL POWER GEAR LLC; 4X4                                 Chief Judge Robert J. Shelby
ANYTHING LLC; B&W AUTO LLC;
SPARKS MOTORS LLC; DAVID W.                              Magistrate Judge Dustin B. Pead
SPARKS; DAVID KILEY; JOSHUA
STUART; and KEATON HOSKINS,

       Defendants.


       This action came before the court for a bench trial. The issues have been tried, and the

court has entered its Bench Trial Order. Accordingly,

       IT IS ORDERED AND ADJUGED:

           1. that judgment be entered in favor of Plaintiff Utah Physicians for a Healthy

Environment and against Defendants Diesel Power Gear LLC, B&W Auto LLC, David W.

Sparks, Joshua Stuart, and Keaton Hoskins, payable to the United States as follows:

                    a. Defendant Keaton Hoskins in the amount of $86,107;

                    b. Defendant B&W Auto LLC in the amount of $114,426;

                    c. Defendants B&W Auto LLC and David W. Sparks, jointly and severally,

                       in the amount of $333,700;

                    d. Defendants Diesel Power Gear LLC, David W. Sparks, and Joshua Stuart,

                       jointly and severally, in the amount of $227,218;




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           2. that judgment be entered in favor of Plaintiff and against Defendants B&W Auto

LLC, David W. Sparks, and Diesel Power Gear LLC, jointly and severally, in the amount of

$90,000 and payable to Davis County, State of Utah;

           3. that judgment be entered in favor of Plaintiff and against Defendants Diesel

Power Gear LLC, B&W Auto LLC, David W. Sparks, Joshua Stuart, and Keaton Hoskins and

that said defendants be permanently enjoined from: (1) removing or rendering inoperative

federally-required emission control systems in diesel trucks; (2) installing parts or components in

diesel trucks that bypass, defeat, or render inoperative federally-required emission control

systems; (3) offering to sell or selling defeat parts; (4) removing or making inoperable the

federally-required emission control system, device, or any part thereof; and (5) owning or

operating vehicles with disabled emission control systems; and

           4. that Plaintiff is entitled to costs of litigation, including reasonable attorney fees

and expert witness fees under 42 U.S.C. § 7604(d).

       DATED this 10th day of March 2020.

                                             BY THE COURT:

                                             _________________________
                                             ROBERT J. SHELBY
                                             United States Chief District Judge




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